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U.S. v. Wllitams Felony Adult Defendant Crtmmal Case t/,;é
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_ . . pto five] major ol‘i`mses charged, according to severity nt'oflense. /-!
i) 21 846-€ D.F -- CONSPIRACY TO DISTRIBUTE CONTROLLED SUB STANCE '_s '.
12. A'I`TORNEY'S NAME First Name, M.l., Lnst Name, including any sullix) 13. (.`OURT ORDER
AND MMLING ADDRE§S [E 0 Appointing Counsel [:i C Co-Collnlel
Hall, SCOi't I:I l" ths For Fetlerl| Del`ender I] R Subl Fnl' Reta|ned Altorney
200 Jefferson m P Subs Fur Panei Attorney m Y Stantiby Cuunlel
Sllit€ 13 13 Prior Attorney’s Nsme:
Memphis TN 381 03 -n ' om.-
i:f Because the shove-named person represented has testified under oath or has
otherwise satisfied this court that he or she (l) ls financially unable to employ counsel md
'l'elephone Nulnher: (2} does nat wish to waive counsel, and b ~ se t e nterests oi`]\tstice so require, the
14. NAME AND MAILtNG AnoRF.Ss or LAw FlRM tony pmm p.r¢...¢r..m.....) §:'""° ' ` ` ‘ ` ` ` ` ` °"‘ ' ,,'d “' """“"‘ "'“ ""‘"" "' "'” “'"‘
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Dnte ol'Ordet‘ Nunc i’ro Tnnc Dste
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b. Bail and Detention Hearings
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(Rate per hour = 5 ) TOTALS:
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l'.'. Travel Expenses (iodging, parking, meats, mitesge, etc.)
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9. CERTIFICA"HON OF A'I'I`ORNEY/PAYEE FOR THE PERIOD 0 F SERVICE 20. APFD|NTMENT TERMINATION DATE Zl. CASE DISPOSITI()N
lF OTHER THAN CASE COMPLETION
FROM TD
22. C LAIM STATUS C] F`insl Pnyment n lnterim Pnyment Numher ______ ij Supplet'nenta| Plyment
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Other than from the court, have you, or toyoar knowledge liss anyone eise, received payment (compeusation ar anything or vliue) from any other source in connection with this
representation‘.‘ [:] \IES N() Et`yes, give details on additional sheets.

I swear or al'lirm the truth or correctness ol' the above statements.

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David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

i\/lemphis7 TN 38103

Eric Scott Hall
WAGERMAN LAW FIRM
200 Jefferson Ave.

Ste. 13 13

i\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

